                                         Case 1:17-ap-01101-MB            Doc 75 Filed 02/20/20 Entered 02/20/20 11:12:19             Desc
                                                                           Main Document Page 1 of 2


                                          1   SAMUEL R. MAIZEL (Bar No. 189301)
                                              samuel.maizel@dentons.com
                                          2   TANIA M. MOYRON (Bar No. 235736)
                                              tania.moyron@dentons.com                                      FILED & ENTERED
                                          3   ARTHUR H. RUEGGER (admitted pro hac vice)
                                              arthur.ruegger@dentons.com
                                          4   DENTONS US LLP                                                      FEB 20 2020
                                              601 South Figueroa Street, Suite 2500
                                          5   Los Angeles, California 90017-5704
                                              Telephone: (213) 623-9300; Facsimile: (213) 623-9924           CLERK U.S. BANKRUPTCY COURT
                                                                                                             Central District of California
                                          6                                                                  BY Cetulio DEPUTY CLERK
                                              Attorneys for Trustee and Trust Board
                                          7
                                                                            UNITED STATES BANKRUPTCY COURT
                                          8                                  CENTRAL DISTRICT OF CALIFORNIA
                                                                                 SAN FERNANDO VALLEY
                                          9
                                                  In re:
                                         10                                                       Lead Case No.: 1:17-bk-12408-MB
601 SOUTH FIGUEROA STREET , SUITE 2500




                                                  ICPW LIQUIDATION CORPORATION, a                 Jointly administered with: 1:17-bk-12409-
 LOS ANGELES , CALIFORNIA 90017-5704




                                         11       California corporation,1                        MB; Chapter 11 Cases

                                                            Debtor and Debtor in Possession.      Adv. Proc. No.: 1:17-ap-01101-MB
         DENTONS US LLP




                                         12
            (213) 623-9300




                                         13       In re:
                                         14                                                       ORDER APPROVING STIPULATION
                                                  ICPW LIQUIDATION CORPORATION, a                 RE SETTLEMENT AGREEMENT,
                                                  Nevada corporation,2                            RELEASE OF FUNDS AND
                                         15
                                                                                                  DISMISSAL OF ADVERSARY
                                                            Debtor and Debtor in Possession.      PROCEEDING [RELATES TO
                                         16
                                                                                                  DOCKET NOS.73, 74]]
                                         17
                                                  MATTHEW PLISKIN, AS TRUSTEE OF
                                         18       THE TRUST CREATED UNDER THE
                                                  JOINT PLAN OF LIQUIDATION DATED                 [No Hearing Required]
                                         19       FEBRUARY 9, 2018,
                                         20                        Objector and Plaintiff,
                                         21         - against -
                                         22       RADIANS WAREHAM HOLDING, INC.,
                                         23                Claimant and Defendant.
                                         24

                                         25

                                         26
                                         27
                                              1
                                         28       Formerly known as Ironclad Performance Wear Corporation, a California corporation.
                                              2
                                                  Formerly known as Ironclad Performance Wear Corporation, a Nevada corporation.


                                              US_Active\114122423\V-1
                                         Case 1:17-ap-01101-MB           Doc 75 Filed 02/20/20 Entered 02/20/20 11:12:19               Desc
                                                                          Main Document Page 2 of 2


                                          1            The Court, having considered the Stipulation re Settlement Agreement, Release of Funds

                                          2   and Dismissal of Adversary Proceeding (the “Stipulation”) [Docket No. 74], by and among Matthew

                                          3   Pliskin, as Trustee of the Trust (the “Trustee”) created under the Joint Plan of Liquidation, dated

                                          4   February 9, 2018, in In re ICPW Liquidation Corporation, a California corporation, et al., Lead

                                          5   Case No.: 1:17-bk-12408-MB, in the United States Bankruptcy Court for the Central District of

                                          6   California, San Fernando Valley Division, on the one hand, and Radians Wareham Holding, Inc.

                                          7   (“RWHI”), on the other, and good cause appearing,

                                          8            HEREBY ORDERS AS FOLLOWS:

                                          9       1.   The Stipulation is approved;

                                         10       2.   The Trustee’s obligation to reserve the Funds (as defined in the Stipulation) is discharged,
601 SOUTH FIGUEROA STREET , SUITE 2500
 LOS ANGELES , CALIFORNIA 90017-5704




                                         11   and the Trustee is no longer required to hold the Agreed Class 3 Reserve Fund in the amount in the

                                              Account (as defined in the Stipulation);
         DENTONS US LLP




                                         12
            (213) 623-9300




                                         13       3.   The Adversary Proceeding is hereby dismissed with prejudice; and

                                         14       4.   Upon receipt of the Payment (as defined in the Settlement Agreement), RWHI waives any

                                         15   right or entitlement to further distribution on account of the claims set forth in the Proofs of Claim

                                         16   (as defined in the Stipulation).

                                         17            IT IS SO ORDERED.

                                         18
                                               ###
                                         19

                                         20
                                         21

                                         22

                                         23
                                              Date: February 20, 2020
                                         24

                                         25

                                         26
                                         27

                                         28



                                               US_Active\114122423\V-1
